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                       Exhibit C
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Dotdash Meredith Database – Families with Children (Updated 6/2023)
 Dotdash Meredith Families with Children offers mailers a premiere list of children at all ages. Subscribers
 and buyers of books and magazines published by Dotdash Meredith have been merged, deduped and
 enhanced to identify those with children at home by age.

Gender:                                  Source:
79% Female/17% Male                      Direct Mail Sold


Counts and Rates:                                                  Selections:
                                                                   1 Mo Hotline                                $17/M
 1,150,000      Total Universe                    $115/M           3 Mo Hotline                                $12/M
 1,150,000      Family Universe                   $115/M           6 Mo Hotline                                $9/M
 181,000        Children Age 0-2                 +$16/M            Change of Address                           $12/M
 280,000        Children Age 3-5                 +$16/M            Engagement/Lifestyle Interests              $16/M
 450,000        Children Age 6-12                +$16/M            DMS                                         $12/M
 490,000        Children Age 13-18               +$16/M            Paid                                        $12/M
                                                                   Gender                                      $9/M
                Catalog Rate                      $85/M
                                                                   State/SCF/Zip                               $10/M
                Fundraising Rate                  $80/M
                                                                   Zip Select (4 or more areas)                $15/M
Include this mail responsive group in your prospect                Age                                         $16/M
efforts and reach an audience receptive to both                    Income                                      $16/M
children's and parent's offers.                                    3rd Party Blow-In                           $10/M
                                                                   Net Name (50,000 MIN)                     @85/8.50
This file includes the subscribers of:
All Recipes®, American Patchwork & Quilting®, Better               Addressing (flat fee):
Homes and Gardens®, Coastal Living®, Cooking                         Key Coding                        $3.50/M
Light®, Country Home®, Do It Yourself®, Food &                       Email/FTP                         $65/F
Wine®, Midwest Living®, People®, People
Royals®, Real Simple®, Southern Living®, Traditional
Home®, Travel + Leisure®, and Wood® (+ Meredith
                                                                   Minimum Order: 10,000
Book Buyers)
                                                                   Details:
                                                                   15% Commission to Brokers. Pre-clearance
                                                                   required. Service bureau requires 3 working days
                                                                   to process all orders, otherwise $85 Flat fee
                                                                   applies.

                                                                                                             Contact:
                                                                                         Monique Adams, List Manager
                                                                             E-mail: MoAdams@AudienceFirstMedia.com

                                                                                                     Linda Amaral, Sales
                                                                                          Phone: (410) 721-5700 Ext. 2330
                                                                               E-mail: lamaral@audiencefirstmedia.com

                                                                                  Please send list clearances & orders to:
                                                                                       orders@AudienceFirstMedia.com

All processed orders cancelled before mail date will incur a $100 cancellation fee in addition to applicable running,
              selection, and shipping charges. Orders cancelled after the mail date incur full charges.

  P.O. Box 828 | Lanham, MD 20706 | Tel. (410) 721-5700 | Fax (410) 721-5795 | http://www.audiencefirstmedia.com/
